Case: 1:21-cv-04933 Document #: 54 Filed: 04/10/23 Page 1 of 8 PagelD #:755

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

PHILADELPHIA INDEMNITY
INSURANCE COMPANY,

Plaintiff,
Vv. Case No. 1:21-cv-04933
ADKINS ENERGY, LLC; ROD GIESEKE;
JAY BUTSON; DAN HOLLAND;
MATTHEW FOLEY; ELMER RAHN;
DAVID SCHENK; DAVID DALY;
RAY BAKER; and PEARL CITY
ELEVATOR, INC.,

Honorable Mary M. Rowland

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Defendants.

STIPULATION TO DISMISS
Now come the parties, individually or by their respective attorneys, and
stipulate and agree to the dismissal of this action with prejudice, with each party to
bear its own fees and costs, pursuant to the terms in the parties’ fully executed

settlement agreement and claims release.

PHILADELPHIA INDEMNITY
INSURANC MPANY

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Case: 1:21-cv-04933 Document #: 54 Filed: 04/10/23 Page 2 of 8 PagelD #:756

Date March 4 2023

ADKINS ENERGY, LLC

NAME; ar kA
Counse| fr Adbing Energy, LLC

Title

PEARL CITY ELEVATOR, INC.

Date NAME:

Title

ROD GIESEKE
Date

JAY BUTSON
Date

DAN HOLLAND
Date

MATTHEW FOLEY
Date

ELMER RAHN
Date

Page 2 of 3
Case: 1:21-cv-04933 Document #: 54 Filed: 04/10/23 Page 3 of 8 PagelD #:757

Date March 4 2023

ADKINS ENERGY, LLC

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Counse| f- Aching Energy, LLC

Title
PEARL ATOR, INC.
Date 04/06 /2023 NAME: ot
Title
ROD GIESEKE
Date
JAY BUTSON
Date
DAN HOLLAND
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MATTHEW FOLEY
Date /-06 —2023 Prakd. Py
a
ELMER RAHN

Date 1-6 - 2023

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ADKINS ENERGY, LLC
NAME:

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PEARL CITY ELEVATOR, INC.
NAME:

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JAY BUTSON

DAN HOLLAND

MATTHEW FOLEY

ELMER RAHN

Page 2 of 3
Case: 1:21-cv-04933 Document #: 54 Filed: 04/10/23 Page 5 of 8 PagelD #:759

ADKINS ENERGY, LLC

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PEARL CITY ELEVATOR, INC.

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ROD GIESEKE
Date

JAY BUTSON
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DAN HOLLAND
Date

MATTHEW FOLEY
Date

ELMER RAHN
Date

Page 2 of 3
Case: 1:21-cv-04933 Document #: 54 Filed: 04/10/23 Page 6 of 8 PagelD #:760

ADKINS ENERGY, LLC

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PEARL CITY ELEVATOR, INC.
Date NAME:
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ROD GIESEKE
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JAY BUTSON
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DAN HOLLAND
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ELMER RAHN
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Page 2 of 3
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RAY BAKER

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